                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


DAVID J. BEAULIEU,

                   Plaintiff,
                                                   Case No. 24-cv-964-pp
      v.

ANDREW HERRMANN, et al.,

                   Defendants.


     ORDER REMINDING PLAINTIFF OF OPTION TO FILE AMENDED
   COMPLAINT IN LIEU OF RESPONDING TO DEFENDANTS’ MOTION TO
                       DISMISS (DKT. NO. 5)


      On September 19, 2024, the defendants filed a motion to dismiss the

complaint under Federal Rule of Civil Procedure12(b)(6). Dkt. No. 5. The

defendants argue that the plaintiff’s claims are barred by claim and issue

preclusion, the complaint fails to establish any cognizable claims and the

defendant officers are entitled to qualified immunity.

      Under Civil Local Rule 7(b) (E.D. Wis.), if the plaintiff wishes to oppose

the motion he must do so within twenty-one days—that is by October 10,

2024. The plaintiff is free to timely file a response to the motion to dismiss, but

the court reminds the plaintiff that he has another option—he may file an

amended complaint to try to cure the alleged deficiencies. See Runnion ex rel.

Runnion v. Girl Scouts of Greater Chi. and Nw. Ind., 786 F3d 510, 522 (7th

Cir. 2015) (explaining that a responsive amendment may avoid the need to

decide the motion or reduce the number of issues decided). Fed. R. Civ. P.

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15(a)(1) allows the plaintiff to file the amended complaint as a matter of course

within twenty-one days after service of the responsive pleading.

      The court ORDERS that by October 10, 2024 the plaintiff shall file either

an amended complaint or a response to the motion to dismiss.

      Dated in Milwaukee, Wisconsin this 20th day of September, 2024.

                                     BY THE COURT:


                                     _____________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




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